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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   JOE HOUSTON, Individually,
                                                          Case No.: 17-cv-62168-WJZ
                   Plaintiff ,
   v.

   HOLLYWOOD BEACH HOTEL
   LLC,

               Defendant.
   ____________________________/

                            PLAINTIFF'S NOTICE OF SETTLEMENT
  Plaintiff, by and through undersigned counsel, hereby notifies the Court that the parties have

  fully resolved all outstanding issues and are in the process of exchanging the fully executed

  settlement documents. The parties anticipate that this process will be complete within 30 days

  and will file a stipulation of dismissal with prejudice. Plaintiff therefore requests that all pending

  motions be denied as moot and that the Court grant them 30 days in which to file their dismissal.

                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via the Court's

  electronic filing system upon all parties of record this 28th day of February, 2018.
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  Respectfully submitted,
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